        Case 1:21-cr-00423-RC Document 20 Filed 01/27/22 Page 1 of 1



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     Federal Defender
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     Assistant Federal Defender
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5
     Attorney for Defendant
6    RICKY C. WILLDEN

7                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA
8
9    UNITED STATES OF AMERICA,                     )   Case No. 1:21-CR-00423 RC
                                                   )
10                     Plaintiff,                  )   APPEARANCE OF COUNSEL
                                                   )   OF RECORD AND CHANGE IN
11   vs.                                           )   DESIGNATION OF COUNSEL FOR
                                                   )   SERVICE
12   RICKY C. WILLDEN,                             )
                                                   )
13                    Defendant.                   )
                                                   )
14                                                 )
15          TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
16          Pursuant to Local Rule 44.5, and the Criminal Justice Act Plan, I confirm my appearance
17   as counsel of record in this case for RICKY WILLDEN, and designate counsel for service as
18   follows:
19                GRIFFIN ESTES
20                Assistant Federal Defender
                  2300 Tulare Street, Suite 330
21                Fresno, CA 93721-2226
                  Telephone: (559) 487-5561
22          Former counsel for service was Matthew Lemke.
23
            I hereby certify that I am an attorney permitted to practice in this Court pursuant to Local
24
     Rule 83.2(e) or (f) and Local Rule 44.1(e).
25
     Dated: January 27, 2022
26
                                                       /s/    Griffin Estes
27                                                     GRIFFIN ESTES
                                                       Assistant Federal Defender
28                                                     Attorney for Defendant
                                                       RICKY C. WILLDEN
      Appearance and Designation of Counsel               -1-
